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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF DELAWARE

 SHIVA STEIN,                                      )
                                                   )
                       Plaintiff,                  )
                                                   ) Case No. 1:19-cv-01599-LPS
        v.                                         )
                                                   )
 CARRIZO OIL & GAS, INC., THOMAS L.                )
 CARTER, JR., ROBERT F. FULTON, S.P.               )
 JOHNSON, F. GARDNER PARKER, ROGER                 )
 A. RAMSEY, FRANCES ALDRICH                        )
 SEVILLA-SACASA, STEVEN A. WEBSTER,                )
 FRANK A. WOJTEK, and CALLON                       )
 PETROLEUM COMPANY,                                )
                                                   )
                       Defendants.                 )

                 PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff hereby

voluntarily dismisses the above-captioned action (the “Action”). Defendants have filed neither an

answer nor a motion for summary judgment in the Action.

 Dated: October 21, 2020                            RIGRODSKY & LONG, P.A.

                                               By: /s/ Brian D. Long
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